
Gueen, J.
delivered the opinion of the court.
The bill in this case, is filed by the complainants, to enjoin a sale of certain slaves, which the defendants, creditors of Thomas Orgain have caused to be levied on, by virtue of executions in their favor, against said Thomas Orgain.
The complainants alledge the property belongs to them, by virtue of a deed, executed to them by Thomas Orgain, before any of the judgments in favor of the defendants were rendered. The defendants admit the execution, and regular probate of the deed, but insist it was made without consideration, and in fraud of their rights.
Thomas Orgain, the grantor in the deed, is the principal witness in the cause. He establishes the existence and validity of the consideration upon which the deed in question is founded, and the only matter for debate in the cause is, whether, under the circumstances, this witness is to be believed.
The chancellor submitted an issue to a jury to determine whether the deed in question was made upon a fair and bona fide consideration. The jury found a verdict in favor of the validity of the deed, and the chancellor decreed accordingly.
It is insisted now here, that this verdict of the jury and decree of the court below, ought to be disregarded, and that this court should consider the cause, and decree thereon, as though there had been no jury in the case. We do notthinkthis view of the subject is correct; for although it is true, a chancellor is not bound by the finding of a jury upon an issue of fact out of chancery submitted to them, and may disregard the finding, *581and decide the cause, “in the teeth of the verdict,” yet, it does not follow, that it is to have no weight with him, and much less does it follow, that this court, is to be uninfluenced thereby. The jury had the witnesses before them, and could judge, from their manner while testifying, whether they were entitled to credit, much better than we can, who only see the evidence on paper.,
The question whether the deed is valid, or fraudulent or not, depends altogether upon the credibility of Thomas Orgain. He prbves the consideration stated in it to have been fair and bond fide. The jury were his neighbors, acquainted with him, and knew how to appreciate the weight of his character. They have believed his testimony, and the chancellor, approving their verdict, has decreed for the complainants.
The circumstances that seem to throw suspicion upon the deed, cannot weigh against the positive swearing of a credible witness, who from the nature of the transaction, could not have been mistaken. We, therefore, affirm the decree.
Note. — See London vs. London, 1 Humphreys’ 1.
